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                                      ORDERED.


     Dated: December 10, 2018




                        UNITED STATES BANKRUPTCY COURT
                           MIDDLE DISTRICT OF FLORIDA
                              FORT MYERS DIVISION
                                www.flmb.uscourts.gov

  In re:                                           Chapter 11

  TRUTH TECHNOLOGIES, INC.,                        Case No. 9:18-bk-05608-FMD

               Debtor.                             Judge Caryl E. Delano
___________________________________/

                           ORDER EXTENDING EXCLUSIVITY

       THIS cause came before the Court for a hearing on November 28, 2018 (“Hearing”) upon

the Debtor’s Motion for an Order Extending Exclusivity [ECF No. 62] (“Motion”) pursuant to

Rule 9006(b)(1) of the Bankruptcy Rules and Section 1121(d) of the Bankruptcy Code, filed on

November 5, 2018. After reviewing the Motion, and the record at the Hearing, it is:

       ORDERED:

       1.     The Motion is GRANTED to the extent set forth herein.

       2.     Unless otherwise defined herein, all capitalized terms shall have the same meaning

ascribed to them in the Motion.
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       3.       The Plan Deadline and the Debtor’s Exclusive Filing Period shall be extended

through and including January 15, 2019.

       4.       The Debtor’s Exclusive Solicitation Period shall be extended through and including

March 16, 2019.

       5.       The Court shall retain jurisdiction to hear and determine all matters emanating from

this Order.

       6.       This Order shall be without prejudice to the Debtor seeking a further extension of

the deadlines described herein.


Attorney, Michael R. Dal Lago, is directed to serve a copy of this order on interested parties and
file a proof of service within 3 days of the entry of the order.




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